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                             UNITED STATES DISTRICT COURT

                                 DISTRICT OF MASSACHUSETTS



SECURITIES AND EXCHANGE
COMMISSION,                                        Civil Action No. 1:17-cv-11633

               Plaintiff,

       v.

NAVELLIER & ASSOCIATES, INC.,
and LOUIS NAVELLIER,

               Defendants.




    DEFENDANTS’ RENEWED ASSENTED-TO REQUEST TO FILE REPLY
MEMORANDUM IN SUPPORT OF MOTION TO STAY ENFORCEMENT PENDING
  APPEAL AND/OR REDUCED SUPERSEDEAS BOND AND REQUEST TO FILE
REPLY MEMORANDUM IN SUPPORT OF REQUEST TO FILE LOUIS NAVELLIER
   DECLARATION AND FINANCIAL INFORMATION IN SUPPORT OF SAID
          STAY/REDUCED SUPERSEDEAS BOND UNDER SEAL


       Defendants are preparing and are in the process of completing their reply memorandum

in response to the SEC’s responsive memorandum opposing Defendants’ motion for stay

pending appeal and/or to reduce supersedeas bond, and Defendants’ reply to the SEC’s

opposition to filing under seal Louis Navellier’s declaration and financial information in support

of said motion. The SEC has assented to Defendants’ filing a reply to the SEC’s opposition to

Defendants’ stay/reduced supersedeas bond motion, and assented to Defendants filing a reply in

support of the motion to seal.

       Defendants made that motion for leave to file said reply memoranda and notified the

Court of the SEC’s assent, but has not as yet received an order granting leave to file said replies.



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Defendants hereby renew their request for leave to file said reply memoranda which can be filed

in the next few days, i.e., on or before July 9, 2020. The SEC’s oppositions were not received

until yesterday, July 6, 2020, so Defendants need a few days to prepare and complete their

replies, which should be ready for filing by July 9, 2020 at the latest, and probably by tomorrow,

July 8, 2020.

       There are numerous misstatements of fact and law in the SEC’s oppositions, which the

Court should be made aware of, so that full and fair consideration, based on accurate factual and

legal arguments, can be made by the Court before rendering a decision on these motions.

       Therefore, Defendants renew their request for the Court to allow the filing of said reply

memoranda in support of motion to stay/reduce supersedeas bond, and in support of motion to

file Louis Navellier’s declaration and financial information under seal.



                                                      Respectfully submitted,

DATED: July 7, 2020            LAW OFFICES OF SAMUEL KORNHAUSER
                                                      By:/s/ Samuel Kornhauser
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                                                      Attorneys for Defendants




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                            LOCAL RULE 7.1 CERTIFICATION

       On July 7, 2020 the undersigned met and conferred with SEC counsel, which assented to

filing a reply to Defendants’ motion to file Louis Navellier’s declaration and financial

information under seal.



Dated: July 7, 2020                                          By: /s/ Samuel Kornhauser
                                                                    Samuel Kornhauser

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                                                             Attorneys for Defendants




                                CERTIFICATE OF SERVICE


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        I hereby certify that this document was filed on this date through the ECF system and will

be sent to the registered participants as identified on the Notice of Electronic Filing (NEF) as of

this date of this filing.



July 7, 2020                                          By: Dan Cowan
                                                          Dan Cowan




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